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                                                                                                      E-FILED
                                                                         Tuesday, 18 May, 2021 05:31:05 PM
                                                                              Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

   JAYLAN BUTLER,                                )
                                                 )
                   Plaintiff,                    )
                                                 )
           v.                                    )       Case No. 4:20-cv-04007-SLD-JEH
                                                 )
   TRAVIS STAES, et al.,                         )
                                                 )
                    Defendants.                  )



             STIPULATED DISMISSAL OF CLAIMS BETWEEN PLAINTIFF
             JAYLAN BUTLER AND DEFENDANTS TRAVIS STAES, JACK
                          ASQUINI, AND JASON PEÑA

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Jaylan Butler and Defendants Travis

Staes, Jack Asquini, and Jason Peña (collectively “the Parties”) stipulate to the entry of an Order

dismissing all claims and defenses made by Plaintiff Jaylan Butler against Defendant Travis

Staes in this action, with prejudice, and dismissing all claims and defenses made by Plaintiff

Jaylan Butler against Defendants Jack Asquini and Jason Peña, without prejudice. Plaintiff also

voluntarily dismisses his claims against John Does 1 and 2, without prejudice. The Parties further

stipulate and agree that each Party shall bear its own attorneys’ fees, costs and expenses of this

case.

          Stipulated and agreed to this 18th day of May, 2021, by:

Dated: May 18, 2021                                   /s/Shalyn Caulley
                                                      One of Plaintiff’s Attorneys

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 Leslie Kuhn-Thayer                                  Elizabeth Jordan
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Dated: May 18, 2021                         /s/John E. Remus
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                             CERTIFICATE OF SERVICE

        I certify that on May 18, 2021 I electronically filed this STIPULATED DISMISSAL OF
CLAIMS BETWEEN PLAINTIFF JAYLAN BUTLER AND DEFENDANT TRAVIS
STAES, JACK ASQUINI, AND JASON PEÑA with the Clerk of Court using the CM/ECF
electronic filing system.


                                                       /s/Shalyn Caulley
                                                       Shalyn Caulley




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